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lPAYNE & FEARS LLP

Attorneys at Law
Daniel F. Fears, Bar No. 110573

E-Mail: dff@paynefears.com
Sean A. O'Brien, Bar No. 133154
E~Mail; sao@paynefears.com

 

4 Park Plaza, Suite 1100
Irvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-1212

Attorneys for Defendant
THE BOEING COMPANY

 

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF`CALIFORNIA

SUSAN NOVAK, an individual and
on behalf of all others
Similarly Situated and the
general public,

Plaintiff,
v.
THE BOEING COMPANY, a Delaware

Corporation and DOES l through
lOO, inclusive.

Defendants.

 

 

 

CASE NO ,SACV09 -1011 CJC (ANX)

(Orange County Superior Court
Case No. 30~2009~00180151)

PETITION AND NOTICE OF REMOVAL
OF CIVIL ACTION UNDER 28 U.S.C.
§§ 1332, 1367, 1441, 1446 and
1453

[DIVERSITY JURSIDICTION]

TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL

DISTRICT OF CALIFORNIA, AND TO PLAINTIFF SUSAN NOVAK, AND HER

COUNSEL OF RECORD:

PLEASE TAKE NOTICE that D€fendant THE BOEING COMPANY

(hereinafter “Boeing”) hereby removes this action from the Superior

 

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Court of the State of California for the County of Orange to the
United States District Court for the Central District of

California, on the grounds of diversity jurisdiction, as follows:

PLAINTIFF'S STATE COURT ACTION

l. On or about July 27, 2009, Plaintiff Susan Novak
(“Plaintiff” or “Novak”) filed a complaint (the “Complaint”)
against Boeing in the Superior Court of the State of California,
County of Orange, entitled “SUSAN NOVAK, individually and on
behalf of all others similarly situated and the general public,
Plaintiff, vs. THE BOEING COMPANY, a Delaware Corporation and
DOES l through lOO, inclusive, Defendants,” Case No. 30-2009-
OOlSGlSl (the “State Court Action”). Attached hereto as Exhibit

“A” is a true and correct copy of the Complaint.

2. Boeing Was served With a copy of Plaintiff's

Complaint and Summons on or about August 6, 2009.

3. The Complaint alleges causes of action against
Boeing for: (l) Failure to pay overtime Wages; (2) Failure to
furnish accurate Wage statements; (3) Failure to pay all Wages

earned; (4) Failure to pay all Wages earned upon termination or
discharge; and (5) Unfair business competition in violation of
Business and Professions Code Sections 17200 et seq. The
Complaint seeks relief on an individual basis, as Well as a
class-wide basis, on behalf of “all others similarly situated.”

see Exhibit “A," M 1).

 

 

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4. On September l, 2009, Boeing timely filed and
served an answer to the Complaint (the “Answer”), containing a
general denial and affirmative defenses. A true and correct copy

of Boeing's Answer is attached hereto as Exhibit “B.”

5. On September l, 2009, Boeing filed a Peremptory
Challenge of Judge Pursuant to C.C.P. § 170.6 With the
Declaration of Sheela H. Shah in Support Thereof and lodged a
Proposed Grder on the Peremptory Challenge. A true and correct
copy of Boeing’s Peremptory Challenge is attached hereto as
Exhibit “C.” A true and correct copy of the Boeing’s Proposed
Order on the Peremptory Challenge is attached hereto as Exhibit

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6. On September 2, 2009, Boeing filed an Amended
Peremptory Challenge of Judge Pursuant to C.C.P. § 170.6; Amended
Declaration of Sheela H. Shah in Support of Defendant's Amended
Peremptory Challenge, and Amended Proposed Order on the Amended
Peremptory Challenge. A true and correct copy of these files are

attached hereto as Exhibits “E,” “F,” and “G” respectively.

7. On September 3, 2009, Boeing filed a Second
Amended Peremptory Challenge of Judge Pursuant to C.C.P. § 170.6;
Second Amended Declaration of Sheela H. Shah in Support of
Defendant’s Second Amended Peremptory Challenge, and Second
Amended Proposed Order on the Second Amended Peremptory
Challenge. A true and correct copy of these files are attached

hereto as Exhibits “H,” “I,” and “J” respectively.

 

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8. This Petition and Notice of Removal is timely
pursuant to 28 U S.C. § l446(b) and Rule 6 of the Federal Rules
of Civil Procedure, in that Boeing was originally served with a
copy of the Complaint no more than thirty (30) days before the

filing of this Petition and Notice.

9. The Summons and Complaint attached hereto as
Exhibit “A,” the Answer attached as Exhibit “B,” and the
Peremptory Challenge with Proposed Order attached as Exhibits “C”
through “J” constitute all pleadings, process and orders filed

and served in the State Court Action.

COMPLETE DIVERSITY EXISTS BETWEEN NOVAK AND DEFENDANT

lO. Under 28 U.S.C. § l332(d)(2), diversity
jurisdiction over a class action exists when any named member of
a class of plaintiffs is a citizen of a state different from any
defendant, and the defendant is not a citizen of the state in

which the action is filed.

ll. Novak is a citizen of the State of California and
resides in the County of Orange and was so residing at the time

of the filing of the Complaint.

12. Novak has alleged in Paragraph l of her Complaint
that the entire putative class of plaintiffs are or were at all
times relevant hereto employed by Boeing in the Engineering,

Operations & Technology Division as non-exempt employees in

 

 

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California. Boeing is therefore informed and believes that
plaintiffs are citizens of the State of California and were
citizens of California at the time of the filing of the

Complaint.

13. Boeing is, and at all times relevant to the
Complaint was, incorporated in the State of Delaware, and its
principal place of business is at its Worldwide Headquarters in
Chicago, Illinois. Boeing performs the vast majority of its
executive and administrative functions at its corporate
headquarters, located in Chicago, Illinois. (Krubski Decl., HT

2-3).

14. If a party is a corporation, it is a citizen of
both its state of incorporation and the state where it has its
principal place of business. 28 U.S.C. § 1332(c)(1).
Accordingly, Boeing is (and was at the time of filing of the
Complaint) a citizen of the States of Delaware and Illinois. See
Montrose Chemical vz American Motorists Ins. Co., 117 F.3d 1128,

1134 (9th Cir. 1997).

THE AMOUNT IN CONTROVERSY FGR THE NAMED PLAINTIFF’S CLAIMS

EXCEEDS THE JURISDICTIONAL MINIMUM

 

15. Novak currently earns a base salary of
approximately $86,600 per year as a Programmer Analyst, Level 4
at Boeing. (Blair Decl., H 2). In her Complaint, Novak prays

for monetary damages on the theory that, inter alia, she should

 

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have been paid on an hourly, non-exempt basis during the four-
year period directly preceding the filing of her Complaint on
July 27, 2009. Based on a 40 hour workweek, Novak's salary of
$85,600 amounts to approximately $41.63 per hour. (Id.) Four
years prior to filing her Complaint, Novak was earning
approximately $69,500 per year and this salary progressively went
up during the four year period. (Id. at 1 3). Accordingly,
Plaintiff’s lowest possible hourly rate during the relevant four

year period would have been $33.41. (Id.)

16. In paragraph 19 of her Complaint, Novak alleges
that she “regularly” worked more than eight hours a day or 40
hours a week without overtime compensation. Novak also alleges
that Boeing capped the maximum amount of overtime that could be
paid to Novak, and/or that Boeing did not pay any overtime
compensation to Novak. Although Novak logged her working hours,
she is now claiming that she was not paid for all the hours
logged as overtime because of a “cap” policy. She also argues
that she is entitled to overtime for hours she did not log
because Boeing “maintains and continue[s] to maintain a policy or
practice of requiring Managers and Supervisors to perform various
duties off the clock,” and that she is therefore entitled to
additional overtime during the four year period for hours beyond
what her time records may reflect. In addition, Novak also
claims penalties of up to $4,000 because of alleged inaccurate
wage statements. Further, Novak alleges that she is entitled to
her attorneys' fees under California statutes. (See Cal. Labor

Code §§ 218.5, 226(e), 1194; See Code Civ. Proc. § 1021.5)1

 

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17. Boeing denies that Novak is entitled to any of
these amounts, or that she was misclassified as “exempt” under
California law. Because Boeing denies Novak's allegations, a
controversy exists regarding her entitlement to any relief. The
total amount involved in that controversy, based on Novak's
allegations in the Complaint, exceeds $75,000. This figure
arises from calculations determining that if Novak was non-exempt
as she alleges (but which Boeing denies), she would be due
$126,779.26 in compensation over her regular rate of salary for
hours that she logged (assuming her representations are true).
(Blair Dec., 1 5). Of this $126,779.26, Boeing has already paid
Novak $69,727.18 under the Extended Workweek (“EWW”) Program.
The EWW program does not pertain to overtime for non-exempt
employees, but rather an incentive program voluntarily
established by Boeing which pays an enhancement to exempt
employees for extended hours worked. (Id. at 1 4). This
incentive program is based on manager approval. Thus, if
hypothetically Novak was non-exempt (which Boeing disputes) the
amount calculated would be approximately another $57,052.08 in
additional wages for hours that she claims she actually logged

but was not paid. (Id. at 1 5).

18. In addition to the additional compensation stated
above, Novak claims that she is owed up to $4,000 in penalties
for Boeing's alleged failure to provide accurate wage statements.
(Complaint, 1 39). Thus, Novak's purported claims put in
controversy at least $61,052.08 ($57,052.08 plus $4,000) based on

logged hours and penalties for wage statements (which Boeing

 

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denies).

19. Additionally, Novak claims that she “regularly”
worked more overtime than she logged during the relevant four
year period, and that she is therefore entitled to overtime pay
and premium for those hours. At the lowest hourly rate of $33.41
per hour (and an overtime rate of at least SBO.l2 per hour), the
amount that Novak claims she is owed for four years is clearly
far over $75,000. On top of these alleged damages, Novak also
seeks attorneys' fees. Muniz v. Pilot Travel Centers, LLC , 2007
WL 1302504, at *4 (E.D. Cal. 2007); Galt G/S v. JSS Scandinavia,
142 F.3d 1150, 1155-56 (9th Cir. 1998) (recognizing that
attorneys' fees are included in determining the amount in
controversy). All of these alleged damages show that the amount
that Novak has put into controversy in her Complaint exceeds

$75,000 for Novak's individual claim.

20. Complete diversity exists in this case, and this
Court has original jurisdiction under 28 U.S.C. § 1332.
Therefore, this action is one that Boeing can remove to this
Court pursuant to 28`U.S.C. § 144l(b) because it is a civil
action between citizens of different states and the matter in

controversy exceeds $75,000, exclusive of interest and costs.

THIS COURT HAS SUPPLEMENTAL JURISDICTION OVER THE PUTATIVE CLASS

CLAMS

21. This Court also has supplemental jurisdiction over

 

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the putative class claims because the amount in controversy in
the named Plaintiff's claim exceeds $75,000. Exxon Mobil Cbrp.
v. Allapattah Servs., Inc., 125 S.Ct. 2611 (2005) (“where the
other elements of jurisdiction are present and at least one named
plaintiff in the action satisfies the amount-in-controversy
requirement, § 1367 does authorize supplemental jurisdiction over
claims of other plaintiffs in the same Article 111 case or
controversy, even if those claims are for less than the
jurisdictional amount specified in the statute setting forth the
requirements for diversity jurisdiction”); Gibson v. Chrysler
Corp., 261 F.Bd 927, 937 (9th Cir. 2001) (court has original
jurisdiction if the named plaintiffs satisfy the amount-in-
controversy requirement); Kanter v. Warner-Lambert Co., 265 F.3d
853, 858 (9th Cir. 2001). Thus, because Novak's alleged amount
in controversy exceeds $75,000, this Court has supplemental

jurisdiction over the alleged claims in this case.

THE AMOUNT IN CONTROVERSY FOR THE PUTATIVE CLASS EXCEEDS THE
JURISDICTIONAL MINIMUM, AND THIS CASE IS INDEPENDENTLY REMOVABLE

UNDER THE CLASS ACTION FAIRNESS ACT

22. As a separate and independent ground for removal,

this Court has jurisdiction over this case under the Class Action

Fairness Act, 28 U.S.C. § 1332(d) (“CAFA”) because the face of
the Complaint shows that: (1) the size of the class numbers over
100; (2) there is minimal diversity; (3) and the amount of

controversy for the putative class is over $5,000,000.

 

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23. For “minimal” diversity under CAFA, it is only
required that any class member is a citizen of a different state
than any defendant, 28 U.S.C. § 1332(d)(2)(B). As set forth in
detail above, minimal diversity is met here because Boeing is a
citizen of Delaware and Illinois, while class member Novak is a

citizen of California.

24. 1n Paragraph 24, Novak estimates that the class
will “number greater than 1,000.” Although Boeing contests this
number, the Complaint on its face alleges a class size that meets
the requirement that the class members be greater than 100.

(Complaint, 1 24).

25. To determine the amount in controversy, the Court
“must assume that the allegations in the complaint are true ”
Forever Living Prods. U.S. Inc. v. Geyman, 471 F.Supp.2d 980, 986
(D. Ariz. 2006); Kenneth Rothschild Trust v. Morgan Stanley Dean
Witter, 199 F.Supp.Zd 993, 1001 (C.D. Cal. 2002). The amount in
controversy for the putative class, based on the allegations in
the Complaint, also exceeds $5,000,000. 1f the class size is
what Novak alleges -- over 1,000 people -- that would only entail
that each class member have an individual claim of, on average,
$5,000 in damages in order for this action to involve an amount
in controversy of $5 million. Boeing denies any liability,
denies the propriety of class action treatment, denies the
alleged class size, and denies that anyone is entitled to damages
based on the allegations of the Complaint. However, the amount

in controversy requirement is met based solely on the allegations

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of the Complaint, which assert the following damages for the
entire class: unpaid overtime, inaccurate wage statements,
waiting time penalties for terminated employees, unpaid regular
wages and attorneys' fees. (Complaint, 11 21, 31-32, 39, 45, 52-

54, 59-60).

26. Defendant denies that Novak and the putative class
are entitled to any of these amounts, or that any were
misclassified as exempt, However, given the size the class
alleged by Novak and the temporal extent of the claims (four
years), the allegations of the Complaint, if taken as true, show
that the total amount in controversy potentially exceeds
$5,000,000 for the entire class and Boeing has established the

elements necessary for removal under CAFA, 29 U.S.C. § 1332(d).

REMOVAL IS TIMELY

 

27. This Notice of Removal is timely pursuant to 28
U.S.C. § 1446(b) because this action is being removed within
thirty (30) days of the time when Boeing first became aware that
it was removable. “[A] notice of removal may be filed within
thirty days after receipt by the defendant, through service or
otherwise, of a copy of an amended pleading, motion, order or
other paper from which it may first be ascertained that the case
is one which is or has become removable.” 18 U.S.C. § 1446(b).
Boeing first became aware that this action was removable when it
was served with the Complaint on August 6, 2009, and is thus

removing in a timely manner.

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CONCLUSION
28. Because (l) this civil action is between citizens
of different states; (2) the matter in controversy exceeds

$75,000.00 for Novak’s claims; and (2) the matter in controversy
exceeds $5,000,000 for the entire class, Boeing respectfully
requests that this Court exercise its removal jurisdiction over
this action pursuant to 28 U.S.C. §§ 1332, 1367, 1446 and 1441(b)

and 1453.

DATED; september 3, 2009 PAYNE: & FEARS LLP

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By: m (DLA/

DANIEL F. FEARS
SEAN A. O’BRIEN

Attorneys for Defendant
THE BOEING COMPANY

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INDEX OF EXHIBITS

 

EXHIBIT DESCRIPTION

EXHIBIT “A”: Complaint

EXHIBIT “B”: Answer

EXHIBIT “C”: Peremptory Challenge and Declaration

EXHIBIT “D”: Proposed Order on Peremptory Challenge

EXHIBIT “E”: Amended Peremptory Challenge

EXHIBIT “F”: Amended Declaration of Sheela H. Shah

Exhibit “G”: Amended Proposed Order on Peremptory
Challenge

EXHIBIT “H”: Second Amended Peremptory Challenge

EXHIBIT “1”: Second Amended Declaration of Sheela H. Shah

Exhibit “J”: Second Amended Proposed Order on Peremptory
Challenge

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EXHIBIT “A” T() NOTICE ()F PETITION

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SUMMONS M':°:n“:.f:am;..m
(CITACION JUDICIAL}
NOT|CE TO DEFENDANT:
(Avrso Ar_ DEMANQAoo).~ F| L E D
THE BOETNG COMPANY, a Delaware Corporation and DOES l SUPERIOR OOURTQFCA|.JFORN|A
. . COUNTY OF E

through 100, inclusive CENTRAL JuSTlCE , R
YOU ARE BE|NG SUED BY PLAINTIFF:
(LO E$TA DEMANDANDO EL DEMANDANTE).' JUL 27 2009
SUSAN NOVAK, individually and on behalfol`all others similarly NMWM-W'*°Wv C°vf\
situated and the general public

or rt wm npp,m

 

NOT|CEl You have been suod. The court may decide against you without your being heard unless you rospond within 30 days. Read the information
below. ' ’

You have 30 CALENDAR DA¥S alter this summons and legal papers are served on you to tile a written response at this court md have l copy
served on the platmitt. A letter or phone call will not protect you. tour written response must be h proper legal form il you want me court to hear your
case. Thero may be a court torm that you can use for your response. You can lind those court forms and more lntormation at the Calitomia Court:
Oniine Sell-Heip Conter (www.coudinfo.ca.gov/se#help), your county law library. or tire courthouse nearest you. if you cannot pay the filing loo. ash
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Ronald W. Makarcm, Makarom & Associates, ll601 W'ilshiro Ellvdq Suite 2440, Los Angeles, CA 90025

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NOTiCE 10 THE PERSON SERVED: You are served

 

 

 

 

 

 

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under §§ ccP 416.10 (eorpomiioni r:j ccP 416.60 tminor)
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%A AREM & ASSOCIATES, AFLC

Ronald W. Makarem, Esq. (SB #180442)

Mami B. Foltnsky, Esq. (sB #209880) F| LED

11601 Wilshlre Boulevard, Suite 2440 SUFER&§%!SFYOF cAUFoRN,A

Los Angeles, California 90025~1760 CEM'RAL Jusng§@z°N$ER

Phone; (310) 312-0299; Fax: (310) 312-0296 JUL 27 mg

Attorneys for Plaintiff, Susan Novak ALANCAR,_$QN, outcome com
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sUPERIOR COURT OP CALIPORNIA
POR THE COUNTY OF ORANGE DEFT_ CXtOS

30~2009
SUSAN NOVAK, individually and on CASE NO.
behalf of all others similarly situated 0 0 1 80 1 5 1
and the general public, CIASS ACrION COMFLAINT FOR:
Plaintiff, 1. FAILURE TO PAY OVER'I'IME WAGES
-2. FAILURE TO FURNISH ACCURATE

vs. WAGE STATEMENTS

THE BOEING COMPANY, a Delaware 3, PAILURE TO PAY ALL wA(;ES
Corporation and DOES 1 through 10{), EARNED
inclusive
l4. FAILURE TO PAY ALL WAGES
Defendams. EARNED UPON TERMINATION OR
DISCHARGE
5. UNFAIR BUSINESS COMPETI’I`ION IN
VIOLATION OF BUSINESS AND
FROFESSIONS CODE SECTION 17200

DEMAND ron tony TRIAL

 

 

as ”NOVAK”), individually and on behalf of all similarly situated individuals, hereby

alleges, avers, and complains, as follows:
THISCASE lS SUBJECT 10
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JUDGE RONALD L. BAUER

Plaintiff, SUSAN NOVAK (who hereinafter shall be referred to as the "Plaintiff” or

 

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1 INTRODUCTION
2 1. This is a class action brought on behalf of Plaintiff, SUSAN NOVAK,
3 individually, and all other individuals similarly situated Who Were employed by THE
4 BOEING COMPANY ("BOEING") and Does l through lUO, (collectively "Defendants") in
5 the Engineering, Operations & Technology Division (hereinafter ”E O & T”) as non~
6 exempt employees in California.
7 2. Plaintiff and all other similarly situated individuals were employed by
8 BOEING (collectively, the ”Class” or "Class Members") during the four years
9 preceding the filing of this action, and continuing While this action is pending
10 (”Class Period"), and Were denied the benefits and protections required under the
n California Labor Code and other statutes and regulations applicable to non-exempt
12 employees in the State of California.
13 3. Plaintiff alleges that Defendant (1) failed to pay Plaintiff and Class
14 Mernbers all overtime Wages for hours Worked in excess of 8 hours a day or 40 hours
15 a Weel<; (2) failed to provide accurate Wage Statements after each pay period,' (3)
16 failed to pay all wages earned each pay period on the regular payday in violation of
17 Labor Code § 204,' (4) failed to pay all earned Wages after their employment ended in
18 violation of Labor Code §§ 201 or 202,' (5) violated California’s Unfair Business
19 Practices Act, California Business & Professions Code §§ 17200, et seq.
20 4. Plaintiff and Class Members, pursuant to Business & Professions Code
21 §§17200-17208, also seeks injunctive relief, restitution, and disgorgement of all benefits
22 Defendants enjoyed from their failure to pay proper compensation
23 5. This Court has jurisdiction over this action pursuant to Code of Civil
24 Procedure § 410.l0. The action is brought pursuant toCode of Civil Frocedure § 382, Civil
25 Code §§ 1781 et seq. Plaintiff brings this action on his own behalf, and on behalf of all
26 persons within the Cl ass as hereinafter defined
27 6, Venue is proper in Orange County pursuant to Code of Civil Procedure
28 §395(a) and §395.5 in that many of the Wrongful acts complained of occurred in this

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County and Defendants are found, maintain offices, end/ or transact business in Orange
County.

7. During the period beginning one year preceding the filing of the original
complaint in this action. Defendants violated labor Code Sections 201, 202, 204, 226(a),
510, Labor Code SeCtions 2699{al and (g) authorize an aggrieved employee, on behalf of
himself and other current or former employees, to bring a civil action to recover civil
penalties pursuant to Labor Code Section 2699. At this time, Plaintiff, on behalf of herself
and all others similarly situated, is not asserting any claim for civil penalties pursuant to
California Labor Code § 2699. Plaintiff, on behalf of herself and all others similarly

situated, do, however, reserve the right to amend the complaint, or any other subsequently

 

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filed pleading to assert claims for civil penalties under the Private Attorney General Act of

l 994.

'I'HE PARTIES
8. Plaintiff SUSAN NOVAK is an individual and resident of Orange County.
9. Defendant THE BOEING COMPANY is a Delaware Corporation. Defendant

owns and operates locations throughout the state of California, including Orange County.

10. 'l`he true names and capacities of defendants Does l through 100, inclusive
and each of them, are unknown to Plaintiff, who sues said defendants by such fictitious
names. Plaintiff is informed and believes and thereon alleges that each of the defendants
fictitiously named herein is legally responsible in some actionable manner for the events
described herein, and thereby proximately caused the damage to Plaintiff and the
members of the Class. Plaintiff will seek leave of Court to amend this Complaint to state
the true name(s) and Capacities of such fictitiously named defendants when the same have
been ascertained

ll. Plaintiff is informed and believes and thereon allege that at all times
relevant herein, each defendant aided and abetted, and acted in concert with and/or
conspired With each and every other defendant to commit the acts COmplaiD€d Of herein

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CLASS AC'T]ON COMPLAINT

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' times mentioned in this Complaint were members of, and/ or engaged in, a joint venture,

 

 

and to engage in a course of conduct and the business practices complained of herein

12. Defendants, including Does l through 100, inclusive, are now, and/or at all
times mentioned in this Complaint were the affiliates of some or all other Defendants, and
vice-versa, and in doing the thing alleged in this Complain t, Defendants were directly or
indirectly controlling, controlled by or under common control with such other Defendants.

13. Defendants, including Doesl through 10(), inclusive, are now, and/or at all
times mentioned in this Complaint were the agents, servants and/ or employees of some or
all other Defendants, and vice~versa, and in doing the things alleged in this Complaint,
Defendants are now and/ or at all times mentioned in this Complaint were acting within
the course and scope of that agency, servitude and / or employment,

14. Defendants, including Does 1 through 100, inclusive, are now, and/or at all

partnership and common enterprise, and acting within the course and scope of, and in
pursuance of said joint venture, partnership and common enterprise

15. Defendants, including Doesl through 100, inclusive, at all times mentioned
in this Complaint approved of, condoned and / or otherwise ratified each and every one of

the acts and/ or omissions alleged in this Complaint.

FACTUAL ALLEGA'I`IONS

16. Defendant BOEING, according to its website, is the world's leading
aerospace company and the largest combined manufacturer of commercial jetliners and
military aircraft _

17. Plaintiff works for BOEING as programmer analyst, a non-exempt employee
in the E O & T Division. Plaintiff has worked for Boeing since approximately 2001 and is
still currently employed with BOEING.

18. Plaintiff and other similarly situated as Plaintiff, primarily engaged in duties
that are not exempt from the wage and hour orders ‘

19. At all times relevant herein, Plaintiff regularly worked more than 8 hours a

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day or 40 hours a week without separate overtime compensation Regardless of the

number of hours plaintiff worked beyond 8 hours a day or 40 hours a week, Defendants

capped the maximum amount of“éver"time compensation it would pay plaintiff and/ or did

not pay any overtime compensation to plaintiff Defendants thus failed to pay Plaintiff all
wages earned each pay period and failed to provide Plaintiff with accurate wage
Statements.

1 20. The members of the Class are similarly situated individuals who are
presently employed or were formerly employed at BOEING in the E O & T division in

California who were not (l) paid overtime for all hours in excess of eight worked in one

,r,day or fortyhours in one work week,' (2) paid all wages owed each pay period; (3)

 

provided accurate wage statements; and/ or (5) paid all earned wages timely upon

termination of their employment

CLASS ACT!ON ALLEGATIONS

21. Plaintiff brings this action on behalf of herself and all other similarly
situated persons as a class action pursuant to Code of Civil Procedure Section 382.
Plaintiff seek to represent a Class composed of and defined as follows'.

a. All former and current non~exempt employees employed bv Defendant at
any time during the tour-year period preceding the filing of this action
through the date notice is mailed to the class.

b. All former and current non»exernpt employees employed by Defendant, at
any time during the four~year period preceding the filing of this action
through the date notice is mailed to the class.

22. Plaintiff reserve the right under Rule 1855(b), California Rules‘of Court, to
amend,or modify the class description with greater specificity or further division into »
subclasses or limitation to particular issues

23. "flu`s action has been brought and may be maintained as a class action
pursuant to Code of Civil Procedure Section 382 because there is a well-defined

community of interest among many persons who comprise a readily ascertainable class,

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1 24. Numerosity and Ascertainability (C.C.P. §382): The potential number of

2 Class members as defined is so numerous that joinder of all members would be unfeasible
3 and impractical. The disposition of their claims through this class action will benefit both
4 the parties and this Court. The number of Class Members is unknown to Plaintiff at this

5 time, however, it is estimated that the Class will number greater than 1,000. The identity of
6 such membership can readily be ascertained from Defendants' employment records.

7 25. Superiority (C.C.P. §382): 'fhe nature of this action and the nature of laws

8 available to Plaintiff make use of the class action format particularly efficient and

9 appropriate By establishing a technique whereby the claims of many individuals can be
10 resolved at the same time, the class suit both eliminates thepossibility of repetitious

11 litigation and provides small claimants with a method of obtaining redress for claims that
12 would otherwise be too small to warrant individual litigation Class action treatment will
13 allow a large number of similarly situated persons to prosecute their common claims in a
14 single forum, simultaneou sly, efficiently, and without the unnecessary duplication of

15 effort and expense that numerous individual actions would require The actual monetary
16 recovery due to most of the individual Class members is likely to be Smadl, and the burden
17 _ and expense of individual litigation would make it pro`tHbitive tor individual Class

18 members to seek relief. A class action will serve an important public interest by permitting
19 such individuals to effectively pursue recovery of the sums owed to them. Purther, class
20 litigation prevents the potential for inconsistent or contradictory judgments if individual
21 Class members were to litigate sepa rately.

22 _26. Well-defined Community of Interest: Plaintiff also meet the established

23 standards for class certification (See, e.g. lockheed Martin Corp. v. Superior Court (2003) 29

24 Cal.4th 1096), as follows:

25 27. Typicality: The claims of Plaintiff SUSAN NOVAK are typical of the claims
26 of all members of the Class she seeks to represent because all members of the Class

27 sustained injuries and damages arising out of Defendants’ policy, practice and common
28 course of conduct in violation oflaw and the injuries and damages of all members of the

 

 

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Class were caused by Defendants' wrongful conduct in said violation of law, as alleged

herein.
28. Adequacy: Plaintiff SUSAN NOVAK:
a. ls an adequate representative of the Class she seeks to represent;
b. will fairly protect the interests of the members of the Class;
c. has no interests antagonistic to the members of the Class; and
d. will vigorously pursue this suit via attorneys who are competent, skilled
and experienced in litigating matters of this type.

29. Predominant Common Questions of Law or Fact: There are common
questions of law and/or fact as to the members of the Class which predominate over
questions affecting only individual members of the Class, including, without limita tion.
Whether Defendants violated Labor Code Sections 1194 and 510 by not paying overtime
wages to Class members for all hours worked in excess of eight in one day or in excess of
forty hours a week;

a. Whether Defendants violated Labor Code Section 204 by not paying Class
members for all wages earned during each pay period;

b. Whether Defendants violated Labor Code Section 226(a) by not providing
Class members with accurate wage statements;

c. Whether Defendants violated Labor Code Section 201 or 202 by not paying
Class members wages due upon termination in a timely manner;

d. Whether Defendants failed to pay all wages due and owing at the time of
termination or discharge to Class members ;

e. Whether Defendants are liable to Class members for civil penalties under
l_abor Code Section 2699,'

f. Whether Defendant’s conduct constituted unfair competition or unlawful
business practice under Business and Professions Code Section 17200, et seq.,'

g. Whether injunctive relief is appropriate to ensure Defendant‘s compliance
with the Labor Code with respect to members of the Class currently

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1 employed by Defendants;
2 h. Whether Class members are entitled to attorney’s fees,'
3 i. Whether Class members are entitled to prejudgment interest;
4~ j. Whether Class members are entitled to restitution;
5 k. Whether each Class member might be required to ultimately justify an
6 individual claim does not preclude maintenance of a class action. Collins v.
7 Roclw (1972) 7Cal.2d 232.
8 FIRST CAUSE OF ACTION
9 For F ailure to I’ay Overtime Wages
10 y g (Against All Defendants)
11 30. Plaintiff incorporates by reference and realleges as if fully stated herein the
12 material allegations set out above in the preceding paragraphs
13 31. At all relevant times, Plaintiff and the other Class members were employees
14 covered by Labor Code Section 510 and Wage Order 7-2001 and pursuant to Labor Code _
15 Section s 5`10 and Wage Order 7~2001, l’laintiff and the Other Class members were entitled
16 to overtime wages payable at the rate of at least one and one~half times their regular rate of
17 pay for all work in excess of eight hours in one workday or in excess of forty hours in one
18 workweek and payable at the rate of at least twice the regular rate Of pay for all work in
19 excess of twelve hours in One workday.
20 32. Defendant failed to pay Plaintiff and the other Class members for all
21 overtime worked in accordance with Labor Code Section 510 and Wage Order 7~2001.
22 Plaintiff is informed and believe and thereon allege that at all relevant times within the
23 applicable class period, Defendants maintained and continue to maintain a policy or
24 practice of requiring Managers and Supervisors to perform various duties off the Clocl<
25 without compensating them for all their hours actually worked
26 33. As a result of Defendants' unlawful conduct, Plaintiff and other members of
27 the Class have suffered damages in an amount, subject to proof, to the extent they were
28 not paid for all overtime wages earned

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1 34. Pursuant to l..abor Code Section1194, Plaintiff and other members of the
2 Class are entitled to recover the full amount of their unpaid overtime wages, prejudgment
3 interest, reasonable attorney's fees and costs of suit.
4 sscoND cAusE or Ac'rioN
5 For Failure to Furnish Accurate Wage Statements
6 (Against All Defendants)
7 35. Plaintiff incorporate by reference and reallege as if fully statedherein the
8 material allegations set out above in the preceding paragraphs
9 36. At all relevant times, Plaintiff and the other class members were employees
w of Defendant covered by Labor Code Section 226.
n California Labor Code § 226(a) provides that:
12 ”Every employer shall, semimonthly or at the time of each payment of
13 wages, furnish each of his or her employees, either as a detachable part of
14 the check, draft, or voucher paying the employees wages, or separately
15 when wages are paid by personal check or cash, an accurate itemized
16 statement in writing showing (1) gross wages eamed, (2) total hours worked
17 by the employee, except for any employee whose compensation is solely
18 based on a'salary and who is exempt from payment of overtime under
19 ' subdivision (a) of Section 515 or any applicable order of the Industrial
20 Welfare Commission, (3) the number of piece-rate units earned and any
21 applicable piece rate if the employee is paid on a piece~rate basis, (4) all
22 deductions, provided that all deductions made on written orders of the
23 employee may be aggregated and shown as one item, (5) net wages earned,
l (6) the inclusive dates of the period for which the employee is paid, (7) the
24 name of the employee and his or her social security number, except that by
25 january 1, 2008, only the last four digits of his or her social security number
26 or an employee identification number other than a social security number
27 may be shown on the itemized statement, (8) the name and address of the
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1 legal entity that is the employer, and (9) all applicable hourly rates in effect
2 during the pay period and the corresponding number of hours worked at
3 each hourly rate by the employee
4 37. At all material times set forth herein, Defendants either recklessly or
5 intentionally failed to make, keep and preserve true, accurate, and complete records of,
6 among other things, the actual number of hours worked each workday and each
7 workweek by Plaintiff and the other Class Members, the beginning and ending time of
8 each work period, meal period and split shift interval, the total daily hours worked, and
the total hours worked per pay period and applicable rates of pay.
9 38. Defendants’ failure to furnish accurate and timely wages statements to
10 Plaintiff and the other members of the Class was knowing and intentional.
n 39. As a result of Defendants' conduct, Plaintiff and other members of the Class
12 are each entitled to recover from Defendants the greater of their-actual monetary damages
13 caused by Defendants' failure to comply With California l..abor Code § 226(a), or an
14 aggregate penalty not exceeding four-thousand dollars ($4,000.00) per employee and an
15 award of costs and reasonable attorney's fees pursuant to California Labor Code § 226(e).
:: THIRD CAUSE OF ACTlQN
18 For Failure to Pay All Wages Earned.
19 (Against All Defendants)
20 40. Plaintiff incorporates by reference and realleges as if fully stated
21 herein the material allegations set out above in the preceding paragraphs
22 41. At all relevant times, Plaintiff and the other members of the Class were
23 employees covered by Labor Code Section 204.
24 42. Pursuant to Labor Code Section 204, Plaintiff and the other members of the
25 Class were entitled to receive on regular paydays all wages earned for the pay period
26 corresponding to the payday.
43. Dcfendants failed to pay Plaintiff and other members of the Class for all
:; wages earned each pay period on the regular payday for the pay period, The earned and
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unpaid wages include, but are not limited to, wages for hours worked off the clock, and
overtime wages.

44. As a result of Defendant's unlawful conduct, Plaintiff and members of the
Class have suffered damages in an amount according to proof at trial.

45. Pursuant to Labor Code Sections 218, 218.5 and 218.6, Plaintiff and members
of the Class are entitled to recover the full amount of their unpaid wages, prejudgment
interest, reasonable attorney’s fees and costs of suit.

FOURTH CAUSE OF AC'I`ION
For Failure to Pay Eamed Wages Upon 'l`ermination or Discharge.
(Against All Defendants)

46. Plaintiff incorporates by referenceand realleges as if fully stated
herein the material allegations set out above in the preceding paragraphs

47. At all relevant times, Plaintiff and the other members of the Class who were
discharged or terminated from employment are covered by Labor Code Section 201 or 202.

48. Pursuant to Labor Code §§ 201 and 202, members of the Class were entitled
to receive upon termination all wages earned and unpaid at the time of termination lf an
employee is dischargedl all wages earned and unpaid are due and payable immediately
upon discharge lf an employee quits his or her employment, his or her wages shall
become due and payable not later than 72 hours'thereafter, unless the employee has given
72 hours previous notice of his or her intention to quit, in which ca se the employee is
entitled to his or her wages at the time of quitting

49. Defendants failed to pay terminated members of the Class all wages earned
and unpaid at the time of termination timely in accordance with Labor Code Section 201 or
202. Their earned and unpaid wages at the time of termination include, but are not
limited to, hours worked off the clock and hours worked overtime

50. Defendants' failure to pay terminated members of the Class all wages
earned prior to termination in accordance with Labor Code Sections 201 or 202 was willful

Defendants had the ability to pay all wages earned by employees prior to termination in

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1 accordance with Labor Code Sections 201 or 202, but intentionally followed a practice or
z adopted o policy that violated Laoor Code sections 201 or 202, '
3 51. Pursuant to Labor Code Section 201 or 202, Plaintiff and'other members of
4 the terminated Class are entitled to all wages earned prior to termination that Defendant
5 failed to pay them.
6 52. California l.abor Code § 203 provides that if an employer willfully fails to
7 pay, without abatement or reduction, in accordance with §§ 201 and 202, any wages of the
3 employee shall continue as a penalty from the due date thereof at the same rate until paid
9 or until an action therefore is commenced; but the wages shall not continue for more than
10 30 days.
11 53. Therefore, terminated members of the Class are entitled to recoverfrom
12 Defendants the statutory penalty for each day they were not paid at their regular rate of
13 pay up to‘30 days' maximum pursuant to California l_.abor Code § 203.
14 ~54. Pursuant to Labor Code Sections 218 and 218.5, Plaintiff and other members
i5 of the terminated Class are entitled to recover their unpaid wages, waiting time penalties
16 under Labor Code Section 203, reasonable attorney's fees and costs of suit. Pursuant to
17 labor Code Section 218.6 or Civil Code Section 3287(a), Plaintiff and other members of the
18 terminated Class are entitled to recover prejudgment interest
19 FIFI`H CAUSE OF ACTION
20 For Unfair Competition in Violation of
21 Business 8c Professions Code Section 17200
22 (Against All Defendants)
23 55. Plaintiff incorporate by reference and reallege as if fully stated herein the
24 material allegations set out above in the preceding paragraphs
25 56. Defendants are "persons” as that term is defined under Business &
26 Professions Code § 17021. Business & Frofessions Code § l7200 defines unfair competition
27 as any unlawful, unfair, or fraudulent business act or practice.
28 57. At all times relevant hereto, by and through the conduct described herein,
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CLASS ACTION COMPLAINT

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Defendants have engaged in unfair and unlawful practices by, among others:

a. capping payment of overtime wages regardless of the number of overtime

hours worked;

b, failing to pay overtime wages for all hou rs worked overtime;

c. failing to pay all earned wages on regular paydays;

d. failing to pay all earned wages upon termination;

e. failing to maintain and furnish accurate wage statements;

58. Plaintiff and other members of the Class are entitled to, and do seek, such

relief as may be necessary to restore to them all wages and other monies owed and
belonging to them, including interest thereon, that Defendantwrongfully withheld from
them and retained for themselves Pursuant to Business & Professions Code § l7203,
Plaintiff and other members of the Class are entitled to restitution of the wages and other
monies withheld, deducted and/or retained by Defendants during a period that
commences four years prior to the filing of this action.

59. pursuant to Business and Professions Code § 17203, Plaintiff and other
members of the Class are entitled to an injunction to prevent the continuation of
Defendant's unlawful and unfair business practices that constitute unfair competition

60. Plaintiff and other members of the Cla ss are entitled to recover reasonable
attorney's fees in connection with their unfair competition claims pursuant to Code of
Civil Procedure Section l021.5, the substantial benefit doctrine and/or the common fund

doctrine

PRAYER FOR RELIEF
WHEREFORE, Plaintiff on behalf of herself and all other persons similarly situated,
prays for relief and judgment against Defendants as follows:
a) CLASS CERTlFlCATlON
i) An order that the action be certified as a class action;
ii) An Order that Plaintiff be certified as the representatives of the Class;
iii) An order that counsel for Plaintiff be confirmed as Class counsel,‘

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b)

d)

ON THE FIRST CAUSE OF ACTlON

i) Damages for unpaid overtime wages according to proof;

ii) Prejudgrnent interest;

ON THE SECOND CAUSE OF AC'I`ION

i) Damages or penalties for not providing accurate wage statements in an
amount according to proof;

ii) An order requiring Defendant to comply with Labor Code Section 226(a);

ON THE THIRD CAUSE OF AC'I`ION

i) Damages for unpaid wages earned but not paid each pay period in an
amount according to proof;

ii) Prejudgment interest;

ON 'I`HE FOURTH CAUSE OF ACl`ION

i) Damages for unpaid wages earned prior to termination of employment in
an amount according to proof;

ii) Waiting time penalties for failure to pay all earned wages timely upon

termination of employment in an amount according to proof;

iii) Prejudgment interest;
f) ON THE FIFI`H CAUSE OF AC'l`ION
i) Restitution of all unpaid wages and other monies owed and belonging to
Class members that Defendants unlawfully withheld from them and
retained for themselves in an_amount according to proof
ii) Prejudgment interest
iii) An order enjoining Defendants from engaging in the unfair and unlawful
business practices described herein;
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g) ON ALL CAUSES OF ACTION
i) ]udgment in favor of Plaintiff and the Class and against Defendants;
ii) Reasonable attorney's fees;
iii) Costs of suit; and

iv) Such other relief as the Court deems just and proper.

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Attomeys for ti`ff'

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CLASS ACTION=COMPLAINT

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EXHIBIT “B” TO NOTICE ()F PETITION

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PAYNE & FEARS LLP

ATFORNEYS AT LAW
4 PARK PLAZA,SU|TE11OD

lRVlNE, CA 92614

(949) 851-1100

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Daniel F. Fears, Bar No. 110573

Seari A. O’Brien, Bar No. 133154

PAYNE & FEARS LLP

Attorneys at Law

4 Parl< Plaza, Suite 1100

lrvirie, CA 92614

Telephone: (949) 851~1100

Facsirnile: (949) 851-1212

E-Mail: dff@paynefears.com
sao@paynefears.com

Attorneys for Defendarit
THE BGING COMPANY

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SUPERIOR COURT OF CALlFORNlA
COUNTY OF ORANGE
ClVlL COMPLEX CENTER

sep 01 2009

ALAN CARLSON, Clerk of the Court
by Nl. DEMAR|A

SUPERIOR COURT OF THE STATE OF CALlFORNlA
COUNTY OF ORANGE - CENTRAL DISTRICT

' SUSAN NOVAK, an individual and on behalf CASE NO. 30-2009-0018015 1
of all others similarly situated and the general
public, ASSIGNED FOR ALL PURPOSES TO:
Juclge: Hon. Ronald L. Bauer
Plaintiff, Department: CX-103
v.

THE BOEING COMPANY, a Delaware ANSWER TO UNVERIFIED
Corporation and DOES 1 through 100, COMPLAINT
inclusive

Defendant.

GENERAL DENIAL

Deferidant The Boeing Company (“Defendant”), for itself and for no other
Defendant, denies, generally and specifically, each and every allegation contained in the
Complaint filed herein by Plaintiff Susan Novak (“Plaintiff”). Defendant further denies, generally
and specifically, that Plaintiff has been damaged in any sum, or at all, by reason of any act or

omission on the part of Deferidant or on the part of any agent or employee of Defendant, or any of

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ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SUITE 1100

IRV|NE, CA 92614

(949) 851-1100

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AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE

(Failure to State a Claim)

l. The Complaint, and each alleged cause of action therein, fails to state

sufficient facts to constitute a claim upon Wliich relief may be granted against Defendant.

SECOND AFFIRMATIVE DEFENSE

(Statute of Limitations)

2. The Complaint, and each alleged cause of action therein, is barred, in Whole
or in part, by the applicable statutes of limitation, including but not limited to Code of Civil
Procedure sections 338(a), 339, 340(a), 340 (b) and 343; and Business and Professions Code

section 17208.

THIRD AFFIRMATIVE DEFENSE

(Proper Compensation)

3. Defendant is informed and believes that Plaintiffs claims are barred in
Whole or in part because at all times mentioned in the Complaint, Plaintiff Was compensated
properly pursuant to the requirements contained in the California Labor Code and the Wage

Orders of the California lndustrial Welfare Commission.

FOURTH AFFIRMATIVE DEFENSE

(Good Faith Belief)
4. The Complaint, and each alleged cause of action therein, is barred, in whole
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ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SU|TE 1100

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(949) 851-1100

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or in part, because any decisions made by Defendant With respect to Plaintiff” s employment,
wages, pay stubs, and paycheck deductions Were made in good faith and reasonably based on the

facts as Defendant understood them.

FIFTH AFFIRMATIVE DEFENSE

(Legitimate Business Reason)

5. The Complaint, and each alleged cause of action therein, is barred, in Whole
or in part, because each employment action of Which Plaintiff complains, if it occurred at all, vvas

taken for legitimate business reasons that did not violate public policy or any statutory prohibition

SIXTH AFFIRMATIVE DEFENSE

(Justification)

6, Plaintiff s Complaint, and each cause of action alleged therein, is barred
because Defendant’s actions With respect to the subject matter in each of the alleged causes of
action Were undertaken in good faith and for good cause, With the absence of malicious intent to
injure Plaintiff, and constitute lawful, proper and justified means to further Defendant’s purpose to

engage in and continue its business activities

SEVENTH AFFIRMATIVE DEFENSE
(Good Faith)

7. The Complaint, and each cause of action contained therein, is barred on the
ground that Defendant acted in good faith conformity With and reliance on regulations, orders,
rulings interpretations, practices or policies of the California lndustrial Welfare Corrnnission and

the California Division of Labor Standards Enforcernent.

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PAYNE & FEARS LLP

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EIGHTH AFFIRMATIVE DEFENSE

(Failure to Represent Class)

8. The Complaint, and each alleged cause of action therein, is not proper for
treatment as a class action because, among other reasons: (a) Plaintiff has not identified an
ascertainable class; (b) Plaintiff is an inadequate representative of the purported class; (c) Plaintiff
cannot establish typicality of claims; (d) that common questions of law or fact do not predominate
in this case; and (e) the individualized nature of the putative class’s claims make class treatment

inappropriate

NINTH AFFIRMATIVE DEFENSE

(Lack of Numerosity)

9. Plaintiff’s causes of action are barred, in Whole or in part, on the grounds

that the numerosity requirement for class actions is not satisfied

TENTH AFFIRMATIVE DEFENSE

(Lack of Superiority)

10. Plaintiff’ s causes of action are barred, in Whole or in part, on the grounds

that a class action is not the superior method of adjudication in this case.

ELEVENTH AFFIRMAT!VE DEFENSE

(Lack of Similar Situation)

11. Plaintiff’s causes of action are barred, in Whole or in part, on the grounds
that a class action is not vvarranted because the Plaintiff is not similarly situated to other proposed

class members

 

ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK Pl_AZA, SUITE 1100

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(949) 851-1100

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TWELFTH AFFIRMATIVE DEFENSE

(Overbroad Class Definition)

12. Plaintiff’ s causes of action are barred, in Whole or in part, on the grounds
that the class definition proposed is facially overbroad in that the class consists of multiple

overlapping groups

THIRTEENTH AFFIRMATIVE DEFENSE
(Offset)

13. Plaintiff s damages, if any, must be reduced by amounts Plaintiff owes to

Defendant.

FOURTEENTH AFFIRMATIVE DEFENSE

(Uncertainty)

14. Plaintiff’ s losses, if any, are speculative and uncertain or both, and therefore

not compensable

FIFTEENTH AFFIRMATIVE DEFENSE

(NO Penalties or Liquidated Damages)

15. Each claim for penalties or liquidated damages contained vvithin the
Complaint is barred on the grounds that the acts or omissions alleged by Plaintiff vvere made in
good faith by Defendant, and Defendant had reasonable grounds for believing that the alleged acts
or omissions Were not in violation of the California Labor Code. Consequently, Plaintiff is not
entitled to penalties or liquidated damages, and the amounts of Wages claimed by Plaintiff should
be reduced accordingly

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ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SUlTE 1100

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SIXTEENTI-l AFFIRMATIVE DEFENSE
(Causation by Plaintiff/In Pari Delicto)

16. Plaintiff`s Complaint, and each alleged cause of action therein, is barred, in
whole or in part, because any damages or injuries that Plaintiff allegedly suffered were caused by
Plaintiff s own conduct and actions, and not because of any unlawful conduct or actions by

D efendant.

SEVENTEENTH AFFIRMATIVE DEFENSE

(Unclean Hands)

17. The Complaint, and each alleged cause of action therein, is barred by the

doctrine of unclean hands because of Plaintiff’ s conduct and actions.

EIGHTEENTH AFFIRMATIVE DEFENSE
(Estoppel)

18. l Plaintiff` s Complaint, and each cause of action alleged therein, is barred

because Plaintiff is estopped from asserting each of the claims alleged therein

NINETEENTH AFFIRMATIVE DEFENSE
(Waiver)

19. Plaintiff` s Complaint, and each cause of action alleged therein, is barred
because Plaintiff has waived the right, by reason of his conduct and actions, to assert each of the

claims alleged herein

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ANSWER TO COMPLAINT

 

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PAYNE & FEARS LLP
ATTORNEYS AT LAV\I

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TWENTIETH AFFIRMATIVE DEFENSE
(Laches)

20. Plaintiff` s Complaint, and each cause of action alleged therein, is barred by

the doctrine of laches. y

TWENTY-FIRST AFFIRMATIVE DEFENSE

(After-Acquired Evidence Doctrine)

21. Plaintiffs’ alleged causes of action, and each of thein, and Plaintiff’s claims

for damages may be barred by after acquired evidence of misconduct by Plaintiff.

TWENTY-SECOND AFFIRMATIVE DEFENSE

(De Minimis/Rounding Permissible)

22. Any alleged underpayment of wages to Plaintiff was de minimis or,
alternatively, was permissible under the California Labor Code and the regulations, orders, rulings
interpretations, practices or policies of the California lndustrial Welfare Commission and the

California Division of Labor Standards Enforcement.

TWENTY-THIRD AFFIRMATIVE DEFENSE

(No Direct Injury)

23. The claim pursuant to California Business & Professions Code Section
17200, er. Sec]. is barred as the Complaint fails to allege an injury to competition as distinct from

an injury to the Plaintiff herself

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ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORN EYS AT LAW
4 PARK PLMA, SU!TE 1100

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TWENTY-FOURTH AFFIRMATIVE DEFENSE

(Falsification of Time Records)

24. Plaintiff’ s causes of action are barred, in whole or in part, orr the grounds

that the Plaintiff falsified time records during her period of employment with Defendant.

TWENTY-FIFTH AFFIRMATIVE DEFENSE
(No Knowledge)

25. Defendant has no knowledge, nor should it have knowledge of, any alleged

uncompensated work by Plaintiff and did not authorize, require, request, suffer, or permit such

 

activity by Plaintiff.
TWENTY-SIXTH AFFIRMATIVE DEFENSE
(Administrative Exemption)
26. Plaintiff’ s causes of action are barred, in whole or in part, on the grounds

that she is exempt from overtime/hours requirements of the Labor Code, under the Administrative
EXemption. Cal. Lab. Code § 515(a); Cal. Code Regs., tit. 8 § 11040 et seq.; 29 C.F.R. 541.200 et

seq.

TWENTY-SEVENTH AFFIRMATIVE DEFENSE

(()ther Exemptions Defense)

27. Plaintiff` s causes of action are barred, in whole or in part, on the grounds
that she qualifies for other exemptions, recognized by California and/or federal law, from

overtime/hours requirements of the Labor Code, including, but not limited to, those enumerated

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exemptions contained in California Labor Code sections 515 and 515.5.

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ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SU|TE 1100

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(949) 851-1100

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TWENTY-EIGHTH AFFIRMATIVE DEFENSE

(Lack of Jurisdiction)

28. To the extent that Plaintiff makes allegations or claims which were not
made the subject of a timely notice filed with the Labor and Workforce Development Agency
alleging that Defendant violated specific provisions of the Labor Code, the Court lacks jurisdiction

with respect to any such allegations or claims

TWENTY-NINTH AFFIRMATIVE DEFENSE
(No Standing)

29. Plaintiff’ s claims under Business & Professions Code § 17200 fails, because
Plaintiff was not subject to unlawful or unfair business practices and has no standing to bring this

claim.

THIRTIETH AFFIRMATIVE DEFENSE

(No Intent of Depriving Wages)

30. Defendant did not willfully, intentionally, arbitrarily, or without just cause

deprive Plaintiff any wages to which she was entitled

THIRTY-FIRST AFFIRMATIVE DEFENSE

(Failure to Mitigate Damages)
31. Plaintiff has failed to mitigate her damages, if any, as required by law.

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ANSWER TO COMPLAINT

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SU|TE 1100

IRVlNE, CA 92614
(949) 851'1100

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THIRTY-SECOND AFFIRMATIVE DEFENSE

(No Showing of Unfair Competition)

Plaintiff’s cause of action under California Business & Professions Code §

17200, et seq. is baired because Plaintiff cannot show an injury to competition and/or unfair

business practice, as distinguished from an alleged injury to herself

WHEREFORE, Defendant prays for judgment as follows:

1.
2.
3.

Court; and

DATED: September 1, 2009

4837»5224-3460,1

That judgment be entered in favor of Defendant and against Plaintiff;
That the Complaint herein be dismissed in its entirety with prejudice;
That Defendant be awarded its costs of suit herein;

That Defendant be awarded reasonable attorneys' fees as determined by the

For such other and further relief as the Court may deem just and proper.
PAYNE & FEARS LLP

By: s/Sean a. O’Brien
DANIEL F. FEARS
SEAN A. O’BRIEN

Attorneys for Defendant
THE BOING COMPANY

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ANSWER TO COMPLAINT

 

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ATYORNEYS AT LAW
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PROOF OF SERVICE
Susan L. Novak vs. The Boeing Company

STATE OF CALlFORNlA, COUNTY OF ORANGE

1 am employed in the County of Orange, State of California. 1 am over the age of 18 years
and am not a party to the within action; my business address is lamboree Center, 4 Park Plaza,
Suite 1100, lrvine, California 92614.

On September 1, 2009, 1 served the following document(s) described as ANSWER TO
UNVERIFIED COMPLAINT on interested parties in this action by placing the original thereof
enclosed in sealed envelopes as follows:

Ronald W. Makarem, Esq.

1\/1ami B. Folinsky, Esq.

Makarem & Associates, APLC

11601 Wilshire Boulevard, Suite 2440
Los Angeles, CA 90025

Tele[hone: (310) 312~0299
Facsirnile: (310) 312-0296

Attorneys for Plaintiff
SUSAN L. NOVAK

(By U. S. M_ail) 1 am readily familiar with my employer s business practice for collection '
and processing of correspondence for mailing with the United States Postal Service. 1 am
aware that on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter is more than one day after date of deposit for mailing in affidavit 1
deposited such envelope(s) with postage thereon fully prepaid to be placed in the United
States l\/lail at lrvine, California.

ij (By Facsimile) 1 served a true and correct copy by facsimile pursuant to C C. P 1013(e)
calling for agreement and written confirmation of that agreement or court order, to the
number(s) listed above or on attached sheet Said transmission was reported complete and
without error.

1:1 (By 0vernight Courier) 1 served the above referenced document(s) enclosed in a sealed
package, for collection and for delivery marked for next day delivery in the ordinary
course of business, addressed to the office of the addressee(s) listed above or on attached
sheet.

1:1 (By E~Mail) 1 transmitted a copy of the foregoing documents(s) via e-mail to the
addressee(s).

(STATE) 1 declare under penalty of perjuiy under the laws of the State of California that
the foregoing is true and correct

Executed on September 1, 2009, at lrvine, California.

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PROOF OF SERVICE

 

 

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EXHIBIT “C” TO NOTICE ()F PETITION

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Sheela H. Shah, Bar No. 239982 F|LED
2 PAYNE & FEARS LLP suPERloR couRT oF cALlFoRNiA
Attorneys at Law couNTY oF oRANGE
3 4 Park Plaza, Suite 1100 ClVlL COMPLEX CENTER
lrvine, CA 92614" Se 01 2009
4 Telephone: (949) 851~1100 p
Facsimile: (949) 851-1212 ALAN cARLs'oN, clerk of the court
5 E-Mail: sao§rLlpaynefears.coni by M~ DEMAR'A
shsgagpaynefears.com
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7 Attorneys for Defendant
THE BOING COMPANY
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9 SUPERIOR COURT OF THE STATE OF CALlFORNlA
10 COUNTY OF ORANGE - CENTRAL DISTRICT
11 SUSAN NOVAK, an individual and on behalf CASE NO. 30-2009-00180151
D_* of all others similarly situated and the general
,_1 12 public, ASSIGNED FOR ALL PURPOSES TO:
»-1 Judge: Hon. Ronald L. Bauer
§§ §§ 13 Plainti`ff, Department: CX~103
5§:@
§§ § § § §§ 14 v.
:1.1 § §O_§
53 § 3 §§ 15 THE BOEING COMPANY, a Delaware DEFENDANT’S PEREMPTORY
m §§ § V Corporation and DOES 1 through 100, CHALLENGE OF JUDGE PURSUANT
Z <§ 16 inclusive TO C.C.P. § 170.6; DECLARATION ()F
>_‘ SHEELA H. SHAH IN SUPPORT
<1;‘ 17 Defendant THEREOF
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23 Defendant The Boeing Company (“Boeing” or “Defendant”) hereby moves the

24 Court for an Order disqualifying Judge Ronald L. Bauer from hearing the above-entitled action.
25
26 This Motion is made pursuant to California Code of Civil Procedure Section 170.6
27 on the grounds that Defendant believes that ludge Bauer may be prejudiced against Defendant, or

28 prejudiced against the interests of Defendant, and that, therefore, a fair and impartial hearing

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DEFENDANT’S PEREMPTORY CHALLENGE OF IUDGE PURSUANT TO C.C.P. § 170.6

 

 

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SUITE 1100

\RVlNE, CA 92614

(949) 851-1100

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cannot be had in this matter

This Motion is based on the matters contained herein, on the supporting
Declaration of Sheela H. Shah, attached hereto and filed herewith, and such oral and documentary

evidence as may be deemed relevant to the determination of the Motion.

DATED: Septernber 1, 2009 PAYNE & FEARS LLP

By: s/Sean A. O’Brien
DANIEL F. FEARS
SEAN A. O’BRIEN

Attorneys for Defendant
THE BOING COMPANY

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DEFENDANT’S PEREMPT()RY CHALLENGE OF IUDGE PURSUANT TO CtC.P. § 170.6

 

 

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1 declare under penalty ofperjnirytmder the laws nf'itiie St.ate~ nt"Califernia that title

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IJE>FENDANT’B PEREl\/li."l"©`}{`r` CHALLENGEDF JUDGH~?URSUAN"I`”TGC,C,P#'. § 1.1'70.6` `

PAYNE &FEARS LLP`

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STATE 013 CALIFGM'IA, 'CGUNTY GF O:RANGE

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' and am not a party to the within astien; my business address is lambcree 112‘<»:»rz:te_r:3 4 Pars. Plaza,

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PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 FARK PLAZA‘ SUlTE 1100

COUNTY OF ORANGE

lRV|NE, CA 92614
(949) 851-1100

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Sean A. G’Brien, Bar Nc). 133154
Sheela H. Shah, Bar No. 239982
PAYNE & FEARS LLP
Attorneys at Law

4 Pai'l< Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-l2l2

E-Mail: Sao§cz)§aynefears.com
Shs@paynefears.cc)in

Attc)rneys for Defendant
THE BOING COMPANY

SUSAN NGVAK, an individual and On behalf
Of all Otliers similarly Situated and the general
public,

Plaintiff,
v.

THE BOEING COMPANY, a Delaware
Corporation and DOES l through 100,
inclusive

Defendant

 

 

Se 8:09-CV-OlOll-C.]C-AN Document 1 Filed 09/03/09 Page 48 of 75 Page |D #:48

SUPERIOR COURT OF THE STATE OF CALlFORNlA
COUNTY OF ORANGE - CENTRAL DISTRICT

CASE NO. 30-2009-00180151

ASSIGNED FOR ALL PURPOSES TO:
Judge: Hon. Ronald L. Bauer
Dep artment: CX- l 03

PROPOSED ORDER GRANTING
PEREMPTORY CHALLENGE OF
HONORABLE RONALD L. BAUER

 

 

PROPOSED ORDER RE: l70.6 CHALLENGE

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA. SU(TE 1100

lRVlNE, CA 92614

(949) 851-1100

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After considering Defendant The Boeing’ Company’s peremptory challenge of the
Honorable Ronald L. Bauer under California Code of Civil Procedure section 170.6, and the
declaration of Shoela H. Shah, an attorney for Defendant, this Court hereby grants Suoh challenge

and orders that the above-entitled case be reassigned to another Judgo for further proceedings

DATED: Septernber __, 2009

 

JUDGE OF THE SUPERIOR COURT

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PRGPOSED ORDER RE: 170.6 CHALLENGE

 

 

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ATTORNEYS AT LAW
4 PARK PLAZA, SU!'IE 1100

IRVINE, CA 92614
(949) 851-1100

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PROOF OF SERVICE

Susan L. Novak vs. The Boei'ng Company

STATE OF~' CALlFORNIA, COUNTY OF GRANGE

l am employed in the County of Grange, Statc of California. l am over the age of 18 years

and am not a party to the within action; my business address is Jamborcc Ccnter, 4 Park Plaza,
Suite 1100, lrvinc, California 92614. »

On Septcmber l, 2009, l served the following document(s) described as PROPOSED

ORDER GRANTING PEREMPTORY CHALLENGE OF HONORABLE RONALD L.
BAUER on interested parties in this action by placing the original thereof enclosed in sealed
envelopes as follows: '

Ronald W. Makarem, Esq.

Marni B. Folinsky, Esq.

Mal<a.rem & Associates, APLC

11601 Wilshire Boulevard, Suite 2440
Los Arigelcs, CA 90025

Tele[hone: (310) 312-0299

Facsimile: (310) 312~0296

Attorneys for Plaintiff
SUSAN L. NOVA_K

(By U.S. Mail) l am readily familiar with my employer’s business practice for collection
and processing of correspondence for mailing with the Unitcd Statcs Postal Servicc. l am
aware that on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter is more than one»day after date of deposit for mailing in affidavit l
deposited such cnvelopc(s) with postage thereon fully prepaid to be placed in the Unitcd
States Mail at lrvine, California.

(By Facsirnile) l served a true and correct copy by facsimile pursuant to C.C.P. 10l3(c),
calling for agreement and written confirmation of that agreement or court order, to the

4nurnber(s) listed above or on attached sheet Said transmission was reported complete and

without error.

(By Overnight Courier) l served the above referenced document(s) enclosed in a sealed
package, for collection and for delivery marked for next day delivery in the ordinary
course of business, addressed to the office of thc addressce(s) listed above or on attached
sheet

(By E-Mail) l transmitted a copy of the foregoing documents(s) via e-mail to the
addressce(s). `

(STATE) l declare under penalty of perjury under the laws of the Statc of California that
the foregoing is true and correct

Exccuted on Septembcr l, 2009, at lrvine, California.

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PROOF OF SERVICE

 

Case 8:09-cV-OlOll-C.]C-AN Document 1 Filed 09/03/09 Page 51 of 75 Page |D #:51

EXHIBIT “E” TO NOTICE OF PETITI()N

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PAYNE & FEARS LLP

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ATTORNEYS AT LAW
4 PARK PLAZA, SU|TE 1100

COUNTY OF ORANGE
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IRV|NE, CA 92614
(949) 851-1100

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ALAN CARLSON, Clerk of the Court

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Sean A. O’Brien, Bar No. 133154
Sheela H. Shah, Bar No. 239982
PAYNE & FEARS LLP
Attorneys at Law

4 Park Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-1212

E-l\/lail: sao;cupayncfears.com
shsga}paynefears.com

Attorneys for Defendant
THE BOING COMPANY

SUPERIOR COURT OF THE STATE OF CALlFORNlA

COUNTY OF ()RANGE - CENTRAL DISTRICT

SUSAN NOVAK, an individual and on behalf
of all others similarly situated and the general
public,

Plaintiff,
v.
THE BOEING COMPANY, a Delaware
Corporation and DOES l through 100,

inclusive

Defendant

 

 

 

CASE NO. 30-2009-00180151

ASSIGNED FOR ALL PURPOSES TO:
ludge: Hon. Ronald L. Bauer
Dep artment: CX-103

DEFENDANT’S AMENDED
PEREMPTORY CHALLENGE OF
JUDGE PURSUANT TO C.C.P. § 170.6;

[Amended Declaration of Sheela H. Shah ln
Support Defendant’s Amended Peremptory
Challenge Filed Concurrently Herewith]

Defendant The Boeing Company (“Boeing” or “Defendant”) hereby moves the

Court for an Order disqualifying ludge Ronald L. Bauer from hearing the above-entitled action.

This Motion is made pursuant to California Code of Civil Procedure Section 170.6

on the grounds that Defendant believes that Judge Bauer may be prejudiced against Defendant, or

prejudiced against the interests of Defendant, and that, therefore, a fair and impartial hearing

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DEFENDANT’s AMENDED PEREMPToRY cHALLENGE oF JUDGE PURSUANT To“odh`§wt)§e=-~

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZ/~\, SUITE 1100

lRVlNE, CA 92614
(949) 851-1100

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cannot be had in this matter.

This Motion is based on the matters contained herein, on the supporting
Declaration of Sheela H. Shah, attached hereto and filed herewith, and such oral and documentary

evidence as may be deemed relevant to the determination of the l\/Iotion.

DATED: September 2, 2009 PAYNE & FEARS LLP

By: s/Sean A. O’Brien
DANIEL F. FEARS
SEAN A. O’BRIEN

Attorneys for Defendant
THE BOING COMPANY

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DEFENDANT’S AMENDED PEREMPTORY CHALLENGE OF IUDGE PURSUANT TO C.C.P. § 170.6

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 54 of 75 Page |D #:54

EXHIBIT “F” TO NOTICE ()F PETITION

PAYNE & FEARS LLP

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ATTORNEYS AT LAW
4 PARK PLAZA, SUlTE 1100

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COUNTY OF ORANGE

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ALAN CARLSON, Clerk of the Court

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Sean A. O’Brien, Bar No. 133154
Sheela H. Shah, Bar No. 239982
PAYNE & FEARS LLP
Attorneys at Law

4 Park Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-1212

E-l\/lail: sao§cupaynefears.com
shs§a;paynefcars.com

Attorneys for Defendant
THE BOING COMPANY

e 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 55 of 75 Page |D #:55

SUPERIOR COURT OF THE STATE OF CALlFORNlA

COUNTY OF ORANGE - CENTRAL DISTRICT

SUSAN NOVAK, an individual and on behalf
of all others similarly situated and the general
public,

Plaintiff,
v.

THE BOEING C()MPANY, a Delaware
Corporation and DOES 1 through 100,
inclusive

Defendant

 

 

CASE NO. 30-2009-00180151

ASSlGNED FOR ALL PURPOSES TO:
Judge: Hon. Ronald L. Bauer
Department: CX-103

AMENDED DECLARATION OF
SHEELA H. SHAH IN SUPPORT OF
DEFENDANT’S AMENDED
PEREMPTORY CHALLENGE OF
JUDGE (C.C.P. 170.6)

Sheela H. Shah, declares that she is the attorney for The Boeing Company

(“Defendant”), a party to the within action, and in support of Defendant’s Amended Peremptory

Challenge of Judge, states as follows:

That Honorable Ronald L. Bauer, the judge to whom this case is assigned for all

purposes, is prejudiced against Defendant or Defendant’s attorneys, or the interest of the

 

 

AMENDED DECLARATION OF SHEELA H. SHAH lN SUPPORT OF MOTION RE DISQUA
JUDGE

   

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ATTORNEYS AT LAW
4 PARK FLAZA SU!TE 1100

lR\/|NE, CA 92614
(949) 851 -1 1 00

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Defendant or Defendant’s attorney, so that Defendant and/or Defendant’s attorney (declarant)

cannot, or believe that they cannot, have a fair and impartial trial or hearing before such judge

The aforementioned judge has not presided over a hearing, motion, or proceeding in

the past in this case.

l declare under penalty of perjury under the laws of the State of California on this

Q,Aday of September, 2009, that the foregoing is true and correct.

Ww/a/C

SHEELA H. SHAH

_2_
AMENDED DECLARArIoN or sHEELA H. sHAH iN sUPPoRr oF MorioN RE DisQUALiFIcArio or
JUDGE “rmmtf;gltgw§w

 

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 57 of 75 Page |D #:57

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ATTORNEYS AT LAW
4 PARK PLAZA, SUITE 1100

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(949) 351~1100

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COUNTY OF ORANGE

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Sean A. O’Brien, Bar No. 133154
Sheela H. Shah, Bar No. 239982
PAYNE & FEARS LLP
Attorneys at Law

4 Park Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-1212

E~Mail: sao§a>paynefears.com
shsga/;paynefears.com

Attorneys for Defendant
THE BOING COMPANY

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF ORANGE ~ CENTRAL DISTRICT

SUSAN NOVAK, an individual and on behalf
of all others similarly situated and the general
public,

Plaintiff,
v.

THE BOEING COMPANY, a Delaware
Corporation and DOES l through 100,
inclusive

Defendant

 

 

CASE NC. 30-2009-00180151

ASSIGNED FOR ALL PURPOSES TO:
Judge: Hon. Ronald L. Bauer
Department: CX-103

AMENDED PROPOSED ORDER
GRANTING PEREMPTORY
CHALLENGE OF HONORABLE
RONALD L. BAUER

 

PROPOSED ORDER RE: 170.6 CHALLENGE

 

 

PAYNE & FEARS LLP

ATTGRNEYS AT LAW
4 PARK F'LAZA, SU|TE 1100

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(949) 851-1100

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After considering Defendant The Boeing’ Company’s amended peremptory challenge of
the Honorable Ronald L. Bauer under California Code of Civil Procedure section 170.6, and the
declaration of Sheela H. Shah, an attorney for Defendant, this Court hereby grants such challenge

and orders that the above-entitled case be reassigned to another Judge for further proceedings

DATED: September ___, 2009

 

JUDGE OF THE SUPERIOR COURT

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PROPOSED ORDER RE: 170.6 CHALLENGE

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 60 of 75 Page |D #:60

EXHIBIT “H” T() NOTICE OF PETITION

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SU!TE 1100

lR\/lNE, CA 92614
(949) 851-1100

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Sean A. O’Brien, Bar No. 133154

Sheela H. Shah, Bar No. 239982

PAYNE & FEARS LLP

Attorneys at Law

4 Parl< Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100

Facsimile: (949) 851-1212

E-l\/lail: sao@pay_nefears,com
shsga)paynefears.com

Attorneys for Defendant
THE BOING COMPANY

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF ORANGE - CENTRAL DISTRICT

SUSAN NOVAK, an individual and on behalf CASE NO. 30-2009-00180151
of all others similarly situated and the general
public, ` ASSIGNED FOR ALL PURPOSES TO:
Judge: Hon. Ronald L. Bauer
Plaintiff, Department: CX-103

'V.

THE BOEING COMPANY, a Delaware DEFENDANT’S SECOND AMENDED
Corporation and DOES 1 through 100, PEREMPTORY CHALLENGE OF
inclusive JUDGE PURSUANT TO C.C.P. § 170.6;

Defendant
[Amended Declaration of Sheela H. Shah ln

Support Defendant’s Amended Peremptory
Challenge Filed Concurrently Herewith]

 

 

Defendant The Boeing Company (“Boeing” or “Defendant”) hereby moves the

Court for an Order disqualifying ludge Ronald L. Bauer from hearing the above-entitled action.

This l\/lotion is made pursuant to California Code of Civil Procedure Section 170.6

on the grounds that Defendant and/or Defendant’s attorneys believe that Honorable Ronald L.

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DEFENDANT’S SECOND AMENDED PEREMPTORY CHALLENGE OF JUDGE PURSUANT TO C.C.P. §
170.6

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SUl`lE 1100

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(949) 851 -1 1 00

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Bauer, the judge to whom this case is assigned for all purposes, is prejudiced against Defendant or
Defendant’s attorneys, or the interest of the Defendant or Defendant’s attorneys, so that Defendant
and/or Defendant’s attorneys cannot, or believe that they cannot, have a fair and impartial trial or

hearing before such judge [See Declaration of Sheela H. Shah filed concurrently herewith].

The aforementioned judge has not presided over a hearing, motion, or proceeding

in the past in this case. [See Declaration of Sheela H. Shah].

This l\/lotion is based on the matters contained herein, on the supporting Second
Amended Declaration of Sheela H. Shah, filed concurrently herewith, and such oral and
documentary evidence as may be deemed relevant to the determination of the l\/lotion.

DATED: Septernber 3, 2009 PAYNE & FEARS LLP

By: s/Sean A. O’Brien
DANIEL F. FEARS
SEAN A. O’BRIEN

Attorneys for Defendant
THE BOING COMPANY

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DEFENDANT’S SECOND AMENDED PEREMPTORY CHALLENGE OF JUDGE PURSUANT 10 C.C.P. §
170.6

 

PAYNE & FEARS LLP

ATFORNEYS AT LAW
4 PARK PLAZA SU!TE 1100

lR\/TNE, CA 92614
(949) 851-1100

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PROOF OF SERVICE

Susan L. Novak vs. The Boeing Company

STATE OF CALlFORNlA, COUNTY OF ORANGE

1 am employed in the County of Orange, State of California. l am over the age of 18 years
and am not a party to the within action; my business address is Jamboree Center, 4 Park Plaza,
Suite 1100, lrvine, California 92614.

On September 3, 2009, l served the following document(s) described as DEFENDANT’S
SEC()ND AMENDED PEREMPTORY CHALLENGE OF JUDGE P URSUANT TO C.C.P.
§ 17 0.6 on interested parties in this action by placing the original thereof enclosed in sealed
envelopes as follows:

Ronald W. Makarem, Esq.

Marni B. Folinsl<y, Esq.

Makarem & Associates, APLC

11601 Wilshire Boulevard, Suite 2440
Los Angeles, CA 90025

Tele{hone: (310) 312-0299

Facsimile: (310) 312-0296

Attorneys for Plaintiff
SUSAN L. NOVAK

(By U.S. Mail) 1 am readily familiar with my employer’s business practice for collection
and processing of correspondence for mailing with the United States Postal Service. l am
aware that on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter is more than one day after date of deposit for mailing in affidavit l
deposited such envelope(s) with postage thereon fully prepaid to be placed in the United
States l\/lail at lrvine, California.

1:1 (By Facsimile) l served a true and correct copy by facsimile pursuant to C.C.P. 1013(e),
calling for agreement and written confirmation of that agreement or court order, to the
number(s) listed above or on attached sheet. Said transmission was reported complete and
without error.

1:| (By Overnight Courier) 1 served the above referenced document(s) enclosed in a sealed
package, for collection and for delivery marked for next day delivery in the ordinary

course of business, addressed to the office of the addressee(s) listed above or on attached
sheet.

|:i (By E-Mail) 1 transmitted a copy of the foregoing documents(s) via e-mail to the
addressee(s).

(STATE) 1 declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct

Executed on September 3, 2009, at lrvine, California.

8 JULIE GASTELUM

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PROOF OF SERVICE

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 64 of 75 Page |D #:64

EXHIBIT “I” TO N()TICE ()F PETITION

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA, SUlTE 1100

IRV\NE, CA 92614

(949) 851 -1 1 00

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Sean A. O’Brien, Bar No. 133154
Sheela H. Shah, Bar No. 239982
PAYNE & FEARS LLP
Attorneys at Law

4 Park Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-1212

E-l\/lail: sao@paynefears.com
shs§@payiiefears.coin

Attorneys for Defendant
THE BOlNG COMPANY

SUPERIOR COURT OF THE STATE OF CALlFORNlA

COUNTY OF ORANGE - CENTRAL DISTRICT

SUSAN NOVAK, an individual and on behalf
of all others similarly situated and the general
public,

»Plaintiff,
v.

THE BOElNG COMPANY, a Delaware
Corporation and DOES 1 through 100,
inclusive

Defendant

 

 

CASE NO. 30-2009-00180151

ASSIGNED FOR ALL PURPOSES TO:
ludge: Hon. Ronald L. Bauer
Department: CX-103

SECOND AMENDED DECLARATION
OF SHEELA H. SHAH IN SUPPORT OF
DEFENDANT’S AMENDED
PEREMPTORY CHALLENGE OF
JUDGE (C.C.P. 170.6)

Sheela H. Shah, declares that she is the attorney for The Boeing Company

(“Defendant”), a party to the within action, and in support of Defendant’s Second Amended

Peremptory Challenge of Judge, states as follows:

That Honorable Ronald L. Bauer, the judge to whom this case is assigned for all

purposes, is prejudiced against Defendant or Defendant’s attorneys, or the interest of the

 

 

SECOND AMENDED DECLARATION OF SHEELA H. SHAH lN SUPPORT GF MOTION RE

DlSQUALlFlCATlON OF JUDGE

nratsa:l:sg§§

 

PAYNE & FEARS LLP

ATI'ORNEYS AT LAW
4 PARK PLAZA, SUlTE 1100

lRVlNE, CA 92614

(949) 851-11 00

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Defendant or Defendant’s attorney, so that Defendant and/or Defendant’s attorney (declarant)

cannot, or believe that they cannot, have a fair and impartial trial or hearing before such judge

The aforementioned judge has not presided over a hearing, motion, or proceeding in

the past in this case.

1 declare under penalty of perjury under the laws of the State of California on this

viii
9 /day of September, 2009, that the foregoing is true and correct.

SHEELA H. SHAH

 

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SECOND AMENDED DECLARATION OF SHEELA H. SHAH IN SUPPORT OF MOTION RE
DlSQUALlFlCATlON OF JUDGE

 

PAYNE & FEARS LLP

A`I`I'ORNEYS AT LAW
4 PARK F‘LAZA SU|TE 1100

1R\/INE,CA92614
(949) 851-1100

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 67 of 75 Page |D #:67

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PROOF OF SERVICE

Susan L. Novak vs. The Boeing Company

STATE OF CALlFORNlA, COUNTY OF ORANGE

l am employed in the County of Orange, State of California. 1 am over the age of 18 years
and am not a party to the within action; my business address is lamboree Center, 4 Park Plaza,
Suite 1100, lrvine, California 92614.

On September 3, 2009, 1 served the following document(s) described as SECOND
AMENDED DECLARATION OF SHEELA H. SHAH IN SUPPORT OF DEFENDANT’S
AMENDED PEREMPTORY CHALLENGE OF JUDGE (C.C.P. 170.6) on interested parties
in this action by placing the original thereof enclosed in sealed envelopes as follows:

Ronald W. Mal<arem, Esq.

Marni B. Folinsl<y, Esq.

Makarem & Associates, APLC

11601 Wilshire Boulevard, Suite 2440
Los Angeles, CA 90025

Tele[hone: (310) 312-0299

Facsimile: (310) 312-0296

Attorneys for Plaintiff
SUSAN L. NOVAK

(By U.S. Mail) 1 am readily familiar with my employer’s business practice for collection
and processing of correspondence for mailing with the United States Postal Service. 1 am
aware that on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter is more than one day after date of deposit for mailing in affidavit 1
deposited such envelope(s) with postage thereon fully prepaid to be placed in the United
States Mail at lrvine, California.

i:i (By Facsimile) 1 served a true and correct copy by facsimile pursuant to C.C.P. 1013(e),
calling for agreement and written confirmation of that agreement or court order, to the
number(s) listed above or on attached sheet. Said transmission was reported complete and
without error.

1:1 (By Overnight Courier) 1 served the above referenced document(s) enclosed in a sealed
package, for collection and for delivery marked for next day delivery in the ordinary
course of business, addressed to the office of the addressee(s) listed above or on attached
sheet.

1:1 (By E-Mail) 1 transmitted a copy of the foregoing documents(s) via e-mail to the
addressee(s).

(STATE) 1 declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct

Executed on September 3, 2009, at lrvine, California.

"' .TULIE GASTELUM

  

~` ___;_L/

 

 

PROOF OF SERVICE

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 68 of 75 Page |D #:68

EXHIBIT “J” TO N()TICE ()F PETITION

PAYNE & FEARS LLP

A`ITORNEYS AT LAW
4 PARK PLAZA, SUlTE 1100

lR\/lNE, CA 92614
(949) 051-1100

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Sean A. O’Brien, Bar No. 133154
Sheela H. Shah, Bar No. 239982
PAYNE & FEARS LLP
Attomeys at Law

4 Park Plaza, Suite 1100

lrvine, CA 92614

Telephone: (949) 851-1100
Facsimile: (949) 851-1212

E-l\/lail: sao@paynefears.com
shs§@payiiefears.com

Attorneys for Defendant
THE BO1NG COMPANY

SUPERIOR COURT OF THE STATE OF CALlFORNlA

COUNTY OF ORANGE - CENTRAL DISTRICT

SUSAN NOVAK, an individual and on behalf
of all others similarly situated and the general
public,

Piaim.irr,
V.

THE BOElNG COl\/IPANY, a Delaware
Corporation and DGES 1 through 100,
inclusive

Defendant

 

 

CASE NO. 30-2009-00180151

ASSIGNED FOR ALL PURPOSES TO:
Judge: l-lon. Ronald L. Bauer
Department: CX-103

SECOND AMENDED PROPOSED
()RDER GRANTING PEREMPTORY
CHALLENGE OF HONORABLE
RONALD L. BAUER

 

 

 

SECOND AMENDED PROPOSED ORDER RE: 170.6 CHALLENGE

 

PAYNE & FEARS LLP

A`l_l`ORNEYS AT LAW
4 PARK PLAZA SUlTE 1100

|RVINE, CA 92614
(949) 851-1100

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After considering Defendant The Boeing’ Company’s Second Amended Peremptory
Challenge of the Honorable Ronald L. Bauer under California Code of Civil Procedure section
170.6, and the Second Arnended Declaration of Sheela 1-1. Shah, an attorney for Defendant, this
Court hereby grants such challenge and orders that the above-entitled case be reassigned to

another Judge for further proceedings

DATED: September _~, 2009

 

JUDGE OF THE SUPERIOR COURT

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sECOND PROPOSED oRDER RE; 170.6 CHALLENGE

 

 

PAYNE & FEARS LLP

ATI'ORNEYS AT LAW
4 PARK PLAZA SU|TE 1100

lR\/lNE. CA 92614
(949) 851-1100

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PROOF OF SERVICE

Susan L. Novak vs. The Boez`ng Company

STATE OF CALlFORNlA, COUNTY OF ORANGE

1 am employed in the County of Orange, State of California. 1 am over the age of 18 years

and am not a party to the within action; my business address is Jamboree Center, 4 Park Plaza,
Suite 1100, 1rvine, California 92614.

On September 3, 2009, 1 served the following document(s) described as SECOND

AMENDED PROPOSED ORDER GRANTING PEREMPTORY CHALLENGE OF
HONORABLE RONALD L. BAUER on interested parties in this action by placing the original
thereof enclosed in sealed envelopes as follows:

Ronald W. Makarem, Esq.

Marni B. Folinsky, Esq.

Makarem & Associates, APLC

11601 Wilshire Boulevard, Suite 2440
Los Angeles, CA 90025

Tele[hone: (310) 312-0299
Facsimile: (310) 312-0296

Attorneys for Plaintiff
SUSAN L. N()VAK

(By U.S. Mail) 1 am readily familiar with my employer’s business practice for collection
and processing of correspondence for mailing with the United States Postal Service. 1 am

1 aware that on motion of the party served, service is presumed invalid if postal cancellation

date or postage meter is more than one day after date of deposit for mailing in affidavit 1
deposited such envelope(s) with postage thereon fully prepaid to be placed in the United
States l\/lail at lrvine, California. '

(By Facsimile) 1 served a true and correct copy by facsimile pursuant to C.C.P. 1013(e),
calling for agreement and Written continuation of that agreement or court order, to the
number(s) listed above or on attached sheet. Said transmission was reported complete and
without error.

(By Overnight Courier) 1 served the above referenced document(s) enclosed in a sealed
package, for collection and for delivery marked for next day delivery in the ordinary
course of business, addressed to the office of the addressee(s) listed above or on attached
sheet.

(By E-Mail) 1 transmitted a copy of the foregoing documents(s) via e-mail to the
addressee(s).

(STATE) 1 declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct

Executed on September 3, 2009, at lrvine, California.

UJULIE GK§TELUM

  

§i:thiln:i,_ 711 w \

 

 

PROOF OF SERVICE

 

PAYNE & FEARS LLP

ATTORNEYS AT LAW
4 PARK PLAZA. SU[TE 1100

lRVlNE, CA 92514
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PROOF UF SERVICE
Susan Novak v. T he Boez`ng Company

STATE OF CALlF()RNlA, COUNTY OF ORANGE

1 am employed in the County of Orange, State of California. 1 am over the age of 18 years

and arn not a party to the within action; my business address is Jamboree Center, 4 Park Plaza,
Suite 1100, lrvine, CA192614.

Gn September 3, 2009, 1 served the following document(s) described as PETITION AND

NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §§ 1332, 1367, 1441, 1446
and 1453 on interested parties in this action by placing a true copy thereof enclosed in sealed
envelopes as follows:

Ronald W. l\/lakarem, Esq.

Marni B. Folinsky, Esq.

l\/lakarem & Associates, APLC

11601 Wilshire Boulevard, Suite 2440
Los Angeles, CA 90025

Tele[hone: (310) 312-0299

Facsimile: (310) 312-0296

Attorneys for Plaintiff
SUSAN L. NOVAK

(BY U.S. Mail) 1 am readily familiar with my employer’s business practice for collection
and processing of correspondence for mailing with the United States Postal Service. 1 am
aware that on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter is more than one day after date of deposit for mailing in affidavit 1
deposited such envelope(s) with postage thereon fully prepaid to be placed in the United
States l\/lail at lrvine, California.

(By Personal Service) 1 delivered by hand on the interested parties in this action by
placing the above mentioned document(s) thereof in envelope addressed to the office of the
addressee(s) listed above or on attached sheet.

(By Facsimile) 1 served a true and correct copy by facsimile pursuant to C.C.P. 1013(e),
calling for agreement and written confirmation of that agreement or court order, to the
number(s) listed above or on attached sheet. Said transmission was reported complete and
without error.

(By Overnight Courier) 1 served the 'above referenced document(s) enclosed in a sealed
package for collection and for delivery marked for next day delivery in the ordinary
course of business, addressed to the office of the addressee(s) listed above or on attached
sheet.

(By E-Mail) 1 transmitted a copy of the foregoing documents(s) via e-mail to the
addressee(s).

(FEDERAL) 1 declare that 1 am employed in the office of a member of the bar of this
court at whose direction the service was made

Executed on September 3, 2009, at lrvine, California.%

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PROOF OF SERVICE

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 73 of 75 Page |D #:73

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vs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE F()R DISCOVERY

This case has been assigned to District Judge Cormac J. Carney and the assigned
discovery Magistrate Judge is Arthur Nakazato.

The case number on all documents filed with the Court should read as follows:

sAcvos- 1011 ch uale

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UNITED STATES l\/lAGlSTRATE JUDGE FOR D|SCOVERY

 

Case 8:09-cV-01011-C.]C-AN Document 1 Filed 09/03/09 Page 74 of 75 Page |D #:74

I (a) PLAINTIFFS (Check box if you are representing yourself [:j )

SUSAN NOVAK ,

general public

an individual and on behalf
of all others Similarly Situated and the

CIVIL COVER SHEET

DEFENDANTS

THE BOEING COMPANY,
Corporation and DOES l through 100,
inclusive

UNITED S'I`ATES DISTRICT COURT, CENTRAL DISTRICT OF CALlFORNlA

a Delaware

 

(b) Attorneys (Firm Name, Address and Telephone Number. lf you are representing

yourself, provide same.)

Ronald W. Makarem,
Fclineky, Eeq.

Marni B.

Makarem & Associates ,

Eeq.

APLC

 

Attorneys (lf Known)

Daniel F. Fears,
Sean A. O'Brien, Eeq.
Payne & Fears

ESq.

 

11601 Wilehire Boulevard, Ste. 2440 4 Park Plaza, Suite 1100
Loe Angeles, CA 90025 l'rvirie, CA 92614
’I‘el: (310) 312~0299 Tel: (949) 851~1100
II. BASIS OF JURISDICTION (Place an X in one box only.) III. CITIZENSHIP OF PRlNCIPAL PARTIES - For Diversity Cases Only

l:l l U.S. Government Plaintiff

l:l 2 U.S. Governrnent Defendant

l:l 3 Federal Question (U.S.
Government Not a Party)

[E 4 Diversity (Indicate Citizenship
of Parties in ltem III)

 

Citizen of This State

PTF
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DEF
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Citizen ofAnother State l:l 2 :l 2

Citizen or Subject ofa [:i 3 l:: 3
Foreign Country

(Place an X in one box for plaintiff and one for defendant.)

Incorporated or Principal Place

of Business in this State

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of Business in Another State

Forei`gn Nation

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IV. ORIGIN (Place an X in one box only.)

 

E l Original §§ 2 Removed from l:l 3 Remanded from i:i 4 Reinstated or l:: 5 Transferred from another district l:l 6 Multi- ij 7 Appeal to District
Proceeding State Court Appellate Court Reopened (specify): District Judge from
Litigation Magistrate Judge
V. REQUESTED IN COMPLAINT; JURY DEMAND: g Yes ll_§_l No (Check 'Yes' only if demanded in complaint.)

CLASS ACTION under F.R.C.P.zs: Yes :l Ne

[XJ MoNEY DEMANDED IN coMPLAINT: s L;n§ge c i f i ed

 

VI.

EMPLOYMENT WAGE AND HOUR CLASS ACTION CASE REMOVED ON GROUNDS OF DIVERSITY, 28 USC SECTION 1332,

1446.

IN CONTROVERSY OVER $ 75 , O 0 0 ,

1367,
THE PARTIES SATISF'Y DIVERSITY REMOVAL JURISDICTION AS NAMED PLAINTIFF IS COMPLETELY DIVERSE AND ALLEGED AMOUNTS

AND THE COMPLAINT ALSO SATISFIES REQUIREMENTS OF REMONVAL UNDER THE CAFA 28 USC SECTION

CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)

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VII.

1332 (d)

 

       

l:l410 Amimisi

l:l430 Benke end saning

[:1450 Commerce/ICC
Rates/etc.

E460 Deportation

i:l 470 Racketeer Influenced
and Corrupt
Organizations

1:1480 Consumer Credit

[:1490 Cebie/set rv

:l 310 selective service

850 Securities/Cornmodities/

Exchange

E 875 Customer Challenge 12
USC 3410

i:i 890 Other Statutory Actions

l:lssi Agrieuiwrei Aei

1::3892 Economic Stabilization
Act

NATURE OF SUIT (Place an X in one box only.)

1:3400 State Reapportionment

 

 

i:i 120 Marine
:l130 Miiier Aet
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l:l 150 Recovery of
Overpayment &
Enforcement of
Judgment

i::l 151 Medicare Act

  

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i::i 152 Recovery of Defaulted

Student Loan (Excl.
Veterans)
ij 153 Recovery of
Overpayment of
Veteran's Benet'its
g 160 Stockholders' Suits
i:i 190 Other Contract
[:i 195 Contract Product
Liability
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315 Airplane Product

Liability

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Slander

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Liability

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Liability

1:1350 Mewr vehicle

355 Motor Vehicle

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:i 360 Other Personal
lnjury

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Product Liability

l:i 368 Asbestos Personal

     

 

 

  

 

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371 Truth in Lending
ij 380 Other Personal

Property Damage
:l 385 Property Damage

Product Liability

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Motions to
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Habeas Corpus
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Other

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[:i 710 Fair Labor
Standards Act

§ 720 Labor/Mgmt.
Relations

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Reporting &
Disclosure Act

i:l 740 Railway Labor Act

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830 Patent
840 Trademark
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FOR OFFICE USE ONLY: Case Number: .
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.
CV-71 (05/08) CIVIL COVER SHEET Page 1 012

CCD-J 844

Case 8:09-cV-OlOll-C.]C-AN Document 1 Filed 09/03/09 Page 75 of 75 Page |D #:75

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALlFORNlA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No § Yes

lf yes, list case number(s):

 

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No :l Yes

lf yes, list case number(s):

 

Civil cases are deemed related ifa previously filed case and the present case:

(Checl< all boxes that apply) ::l A. Arise from the same or closely related transactions, happenings, or events; or
[::l B. Call for determination of the same or substantially related or similar questions of law and fact; or
ij C. For other reasons would entail substantial duplication of labor if heard by different judges; or

[::l D. involve the same patent, trademark or copyright, an_d one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary,)
(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides
l::l Check here if the govemment, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in this District:* California County outside of this District' State, if other than California; or Foreign Country

 

Orange County

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant residesl
l::l Check here if the government, its agencies or employees is a named defendant, lf this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Illinois and Delaware

 

(c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose

Note: In land condemnation cases, use the location ofthe tract of land involvcd.

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

Orange County

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: lrl land condemnation cases, use the location of the tract of land inv ve

 

 

 

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Notice to Counsel/Parties: The CV'71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or otherpapers as required by law, This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet,)

 

Key to Statistical codes relating to Social Seculity Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U,S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U-S~C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 on

